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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, et al.,

                       Plaintiffs,

v.

R. KYLE ARDOIN, in his official capacity
as Secretary of State for Louisiana,

                       Defendant.
                                                CIVIL ACTION
                                                NO. 3:22-CV-00211-SDD-SDJ
consolidated with
                                                consolidated with
                                                NO. 3:22-CV-00214-SDD-SDJ
EDWARD GALMON, SR., et al.,

Plaintiffs,

v.

R. KYLE ARDOIN, in his official capacity
as Secretary of State for Louisiana,

                       Defendant.



                                 NOTICE OF SUBSTITUTION

        Nancy Landry, by and through undersigned counsel, hereby notifies the Court that R.

Kyle Ardoin no longer holds the office of Secretary of State for Louisiana and that she, as the

successor in office and current Secretary of State for Louisiana, pursuant to Rule 25(d) of the

Federal Rules of Civil Procedure, is automatically substituted as a party in the above-captioned

consolidated matters. Secretary Landry respectfully requests that all future filings be served

through her undersigned counsel.

        Respectfully submitted, this the 9th day of January, 2024.
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